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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                 Case No. 20-cr-20599 (MFL)(CI)
               Plaintiff,
                                                 Hon. Matthew F. Leitman
v.

D-1 JOHN ANGELO,
D-3 ROSINA ANGELO,
 a/k/a ROSINA CARUVANA,

               Defendants.



     DEFENDANTS’ BRIEF OPPOSING VARIANCE OF INDICTMENT

      As requested by this Court, defendants submit this brief on the issue of

whether, based on the language of the indictment, the government may offer

evidence of unreported cash or currency by John Angelo in this tax trial. For the

following reasons, allowing the government to shift factual theories during trial is a

variance that would affect the defendants’ “substantial rights” and require reversal

on appeal in the event of conviction.

      “An indictment may be the subject of an actual amendment, a constructive

amendment, or a variance.” United States v. Budd, 496 F.3d 517, 521 (6th Cir.

2007). “[A] variance occurs when the charging terms [of the indictment] are

unchanged, but the evidence at trial proves facts materially different from those
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alleged in the indictment.” Id. (quoting United States v. Prince, 214 F.3d 740, 756

(6th Cir. 2000)) (internal citations omitted) (alteration in original). And “[i]f a

variance infringes too strongly upon the defendant’s Sixth Amendment right to be

informed of the nature and cause of the accusation, the variance is considered a

‘constructive amendment.” United States v. Prince, 214 F.3d 740, 756 (6th Cir.

2000).1

       “Once the indictment presents a factual basis for an element of a crime, the

prosecution may not rest its proof of that element of the crime at trial on other

facts.” United States v. Budd, 496 F.3d at 522 (quoting United States v. Caldwell,

176 F.3d 898, 902 (6th Cir. 1999); Stirone v. United States, 361 U.S. 212 , 217

(1960) (finding government varied from indictment charging Hobbs Act

interference with interstate sand transport by offering evidence of interference with

steel transport).

       The government is now attempting to secure convictions in this matter by

presenting evidence John Angelo received cash payments (that the government

alleges was unreported). This is a material variance from the factual basis of every




       1
            Amendments are per se prejudicial and require reversal on appeal—
amendments implicate the Fifth Amendment right to be indicted by a grand jury.
When a variance occurs, however, reversal on appeal requires a showing of
prejudice. United States v. Beasley, 583 F.3d 384, 389–90 (6th Cir. 2009).
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tax charge alleged in the indictment. And because this variance will cause

prejudice to the defendants, it is a constructive amendment that will require

reversal on appeal.

      The indictment alleges that NJC Marketing “was a limited liability

company[, which] . . . served as a nominee entity for Defendants John Angelo and

Rosina Angelo. Through NJC Marketing[,] Defendants John Angelo and Rosina

Angelo earned taxable income.” (Indict.: ECF No. 340, at Page.ID.6118 (¶23).)

      The indictment alleges Robin Street Consultants was “owned by Defendant

John Angelo and Anthony Sereno and operated by Defendants John Angelo and

Rosina Angelo, and Anthony Sereno."

             Robin Street served as a nominee entity for Defendants John
             Angelo and Rosina Angelo, and Anthony Sereno. Through
             Robin Street Defendants John Angelo and Rosina Angelo, and
             Anthony Sereno received taxable income. Defendants John
             Angelo and Rosina Angelo, and Anthony Sereno used the
             Robin Street business accounts to transfer funds between each
             other and conduct other financial transactions in order to
             conceal taxable income earned through Robin Street from the
             IRS.”

(Id. at Page.ID.6118–6119 (¶24).)

      Each of these factual allegations are incorporated into counts two through

five. (Id. at Page.ID.6143–45 (¶91, 93, 95)).

      Count two alleges John and Rosina conspired to hide John’s income from

the IRS. Count two is very detailed as to the alleged means by which John and
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Rosina sought to accomplish this. The manner and means are alleged to be that

John and Rosina “agreed to create a nominee entity, NJC Marketing, open bank

accounts in the name of NJC Marketing, and direct businesses to make checks

payable to NJC Marketing to conceal Defendant John Angelo’s receipt of taxable

income.” (Id. at Page.ID.6036 (¶76).) And the alleged acts taken by John and

Rosina to further the alleged conspiracy are even more detailed.

           “Defendants John Angelo and Rosina Angelo directed WCIS to pay
            fees earned by defendant John Angelo via check made payable to
            nominee entity NJC Marketing.” (Id. at Page.ID.6137 (¶77.a)
            (emphasis added).)

           “Defendants John Angelo and Rosina Angelo directed HSMM to pay
            fees earned by defendant John Angelo via check made payable to
            nominee entity NJC Marketing . . . .” Id. at Page.Id.6138 (¶77.b)
            (emphasis added).)

           “Defendant John Angelo directed . . . Michigan Accident Associates
            to pay, or cause to be paid, fees earned by Defendant John Angelo via
            checks made payable to nominee entity NJC Marketing . . . .” (Id.
            (¶77.c) (emphasis added).)
      These factual allegations in count two are also alleged in counts three

through five. (Id. at Page.ID.6143–6145 (¶¶91, 93, 95.)

      Count three alleges that John and Rosina Angelo filed a false return for John

Angelo for the 2015 tax year. “John Angelo and Rosina Angelo, then and there

well knew and believed, defendant John Angelo had earned additional business
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gross receipts, adjusted gross income, and taxable income through Robin Street

and NJC Marketing.” (Id. at ¶92.)

      The wording of counts four and five differ slightly. Count four alleges that

John and Rosina Angelo filed a false tax return for John Angelo for tax year 2016

because they “then and there well knew and believed, the return did not accurately

list all amounts and sources of income received during the tax year and understated

the amount of business gross receipts, adjusted gross income, and taxable income

defendant John Angelo received during the tax year through Robin Street and NJC

Marketing.” (Id. at Page.ID.6144–46.)

      The words “cash” or “currency” are not contained in the indictment, let

alone in the same sentence as the word “unreported.”

      For a variance to be prejudicial it must affect a “substantial right of the

defendant.” In the context of a variance, this requires a defendant prove “prejudice

to his ability to defend himself or to the overall fairness of the trial.” United States

v. Manning, 142 F.3d 336, 339 (6th Cir. 1998).

      Undersigned counsel prepared for a trial based on a detailed indictment that

alleges the defendants diverted funds owed to John Angelo to “nominee entities”

NJC Marketing and Robin Street Consultants. Counsel would have prepared for

this trial differently if the government had provided notice that it was going to

pursue a conviction based on unreported cash. Bank records would have been
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examined differently (including the records of any individual or entity allegedly

making cash payments), forensic accountants would have been employed, and a

different trial strategy would have been adopted.

      In addition, this Court has seen how the government has conducted this trial.

Witness and (massive) exhibit lists have never been finalized, which becomes

difficult to overcome when defense counsel was unnecessarily buried in over 70

discovery productions. Indeed, a witness was immunized today as the government

attempts to shift to an unreported cash factual theory.

      Trials should be fair. The manner in which the government has conducted

trial thus far has made fairness difficult to achieve. Requiring the defense to adopt

a new strategy and defend a new front now will make fairness impossible and

prejudice very real.
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                               Conclusion

      Trials should not be conducted by surprise or ambush. The Sixth

Amendment forbids it. But that is exactly what will happen if the government is

allowed to pursue a conviction based on unreported cash.

      The government should be precluded from offering such evidence.



                                        Respectfully submitted,
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Date: July 12, 2023
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                          CERTIFICATE OF SERVICE

      I, Patrick J. Hurford, hereby certify that on July 12, 2023, I electronically filed

this brief using the ECF system which will send notification of the filing to all

counsel of record included in the ECF system.


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